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MEMO ENDORSED
                                             REPLY TO MONTCLAIR OFFICE

                                                                                        USDC SDNY
                                                                                        DOCUMENT
                                                        January 8, 2021                 ELECTRONICALLY FILED
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     Via ecf                                                                            DATE FILED: 1/11/2021
     Honorable Valerie E. Caproni, U.S.D.J.
     Southern District of New York
     40 Foley Square
     New York, NY 10007

                                Re:     United States v. Edwin Cortorreal, 17 Cr. 438 (VEC)

     Dear Judge Caproni:

             We represent Edwin Cortorreal in this case. Motions are due February 5, 2021,
     although no trial date has been set due to the uncertainty about when some normalcy will
     return. We write, respectfully, and with consent of the Government, to request that the
     motions date be continued for four months and that a new motion schedule be set by the
     Court at the April 2, 2021 status conference. We seek this continuance of the motion date in
     order to further our work toward a satisfactory resolution of this case. This task has become
     impossible given the constraints on developing attorney-client rapport in the midst of this
     terrible pandemic. We also request that the Court set a new firm, realistic trial date for the
     end of this year or the beginning of next year, to ensure that there will be no conflict with
     other trial settings.1

            As the Court may recall, Mr. Cortorreal was extradited from the Dominican Republic
     early last year. Ms. Barrett was appointed to represent him at his initial appearance and
     arraignment on the indictment occurred on February 3, 2021. At that proceeding, the Court
     ordered detention and he was incarcerated at the Metropolitan Corrections Center (MCC).

             Ms. Barrett was able to speak with Mr. Cortorreal before the proceeding and advised

             1
             The only scheduling issue of which we are currently aware is that Ms. Barrett has a trial in
     a death penalty case in the Eastern District of Michigan beginning October 4, 2021 which is
     estimated to last six weeks. Mr. Silverman has three trials one each in May, June and July.
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    him that she would visit him at the MCC at the earliest opportunity. Before she was able to
    do that, legal visits at the MCC were halted while the institution investigated the smuggling
    of a firearm into the facility.

           After several weeks, a few units, including Mr. Cortorreal’s, opened for legal visits
    and Ms. Barrett arranged for a visit on Saturday, March 7. That visit took place, not in a
    private attorney visit room, but rather in the social visit room on the tier within several feet
    of a half-dozen other lawyers seated face to face with their clients. Expecting a different
    setting Ms. Barrett had brought digital discovery to review with Mr. Cortorreal, but that
    could not happen in the absence of computers, tables and privacy. We have since provided
    Mr. Cortorreal with digital discovery which he could not review due to limited computer
    access during the pandemic lockdown at MCC. Discovery which could be produced in paper
    was forwarded to him, but important portions, such as videos, voluminous telephone records
    and jail recordings are only available in digital form.

           Since that meeting, Ms. Barrett has been unable to visit with Mr. Cortorreal in person.
    She attempted a video conference once, but it became obvious that it would be impossible
    to have a private conversation, since the clients are not equipped with headphones and
    inmates and guards passed behind Mr. Cortorreal during the conference. Consequently, Ms.
    Barrett has only had telephone contact with Mr. Cortorreal for the last 10 months.2

           Faced with voluminous discovery in a case in which her client faced the possible
    sentence of life without parole, Ms. Barrett applied to the Court in October for the
    appointment of Mr. Silverman as a second lawyer. We have maintained regular telephone
    contact with Mr. Cortorreal, however, we have been unable to review discovery with him
    using that medium.

            For these and other reasons involving privileged information that we will express to
    the Court in a sealed submission, it has impossible to establish the kind of rapport essential
    to an informed discussion of any possible resolution. With the motion deadline looming, the
    Government has set a plea deadline which the above-described circumstances have made it
    impossible for us to meet.



            2
            Ms. Barrett considered an in-person visit over the summer, however, reports from attorneys
    who visited clients before the second wave of the pandemic began made clear that the airflow in the
    attorney visit rooms was inadequate, the physical alterations did little to prevent the flow of aerosoles
    and corrections officers were not routinely masked.
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           Covid-19 cases continue to rise and vaccinations will only be available to the general
    public, including, apparently, to persons incarcerated by the Bureau of Prisons, by April.
    Consequently, we submit that continuing the motion deadline and setting a firm trial date at
    the end of this year or the beginning of next year is the most realistic way to ensure our
    effective assistance of counsel for Mr. Cortorreal. The Government has no objection to this
    continuance.

          The parties agree that this continuance will best serve the interests of the public and
    Mr. Cortorreal and request that the time between February 5, 2021 and April 2, 2021 be
    excluded from the provisions of the Speedy Trial Act.

             Thank you for your attention to our request

                                                                      Respectfully submitted,

                                                                      Benjamin Silverman
                                                                      Jean D. Barrett
                                                                      Attorneys for Edwin Cortorreal

                                                                      /s/ Jean D. Barrett
                                                             By:      Jean D. Barrett




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 Application GRANTED. Defendant’s pretrial motions are due by
 June 9, 2021. The Government’sopposition is due by July 7, 2021.
 Defendant’s reply is due by July 23, 2021. The status conference
 will be held as scheduled on April 2, 2021 at 2:00 p.m., at which
 point the Court will set a trial date. Counsel are directed to appear
 for the conference by calling (888) 363-4749, using the access code
 3121171 and the security code 0438.
 SO ORDERED.




 HON. VALERIE CAPRONI
 UNITED STATES DISTRICT JUDGE                                      1/11/2021
